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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           4:03CR3079-1
                                            )
             Plaintiff,                     )
                                            )           MEMORANDUM
vs.                                         )           AND ORDER
                                            )
LAWRENCE VERNAIL ALLEN,                     )
                                            )
             Defendant.                     )


       A motion for order to continue sentencing has been submitted by Mr. Aman on
behalf of the defendant. While I will grant the motion, two things need to be made
clear.

        First, Mr. Aman continues to refuse to file pleadings electronically. I will order
Mr. Aman to show cause why sanctions should not be imposed on him, including but
not limited to removal of Mr. Aman from the Criminal Justice Act Panel for failure
to file pleadings electronically.

      Second, no further continuances in this case will be granted.

      IT IS ORDERED that:

      (1)    The motion for order to continue sentencing (filing 17) is granted. The
             sentencing is continued until Wednesday, December 7, 2005, at 1:00
             p.m., in Courtroom No. 1, Robert V. Denney United States Courthouse
             and Federal Building, Lincoln, Nebraska.

      (2)    At the sentencing, John Aman shall show cause why he should not be
             sanctioned for failure to file pleadings electronically.
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     (3)   A copy of this memorandum and order shall be provided to Chief Judge
           Bataillon, Magistrate Judge Piester, and David Stickman, Panel
           Administrator of the Criminal Justice Act Panel.

     October 4, 2005.                    BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
